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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO


WILLIAM SPILLMAN and                           )
KATRINA GARCIA SPILLMAN,                       )
                                               )     Case No. 1:19-cv-660-KK-LF
                           Plaintiffs,         )
                                               )
                     v.                        )
                                               )
METROPOLITAN LIFE INSURANCE                    )
COMPANY and VERIZON WIRELESS,                  )

                           Defendants.

                                         MOTION TO DISMISS


         COMES NOW, Plaintiff, William Spillman and Katrina Garcia Spillman, by and through

its attorney, DAVIS MILES MCGUIRE GARDNER, PLLC (Penelope Quintero) and hereby

moves the Court to dismiss all claims and causes of action contained in Plaintiff’s Complaint for

Breach of Contract, Misrepresentation, False Advertising, Unfair Insurance Claims Practices,

and Violation of Unfair Trade Practices filed in Seventh Judicial District Court on May 22,

2019, removed to the United States District Court for the District of New Mexico herein on July

18, 2019, and amended on October 2, 2019. As grounds therefore, Plaintiff states:

         1. The parties have reached resolution of the matter by settlement.

         2. Concurrence was sought from Defendants and was received.

         WHEREFORE, Plaintiff, William Spillman and Katrina Garcia Spillman, request that the

Court enter an order dismissing with prejudice all claims and causes of action contained in the

Complaint and First Amended Complaint filed herein, and any all claims brought and which

could have been brought in that case, and all claims or causes of action contained in Defendants’


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Answers to the Complaint, if any, and any and all claims which could have been brought by

Defendants, with all parties to bear their own costs and attorney fees.



                                              Respectfully submitted by:

                                              DAVIS, MILES, MCGUIRE, GARDNER, PLLC

                                              By:/s/ Penelope Quintero
                                                 PENELOPE QUINTERO
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                                  CERTIFICATE OF SERVICE

I hereby certify that on this 25th day of February, 2020, a true and correct copy of the foregoing
Motion to Dismiss was served by operation of the Court’s electronic filing system and through e-
mail upon the following counsel of record:

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